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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
     431 I Street, Suite 102
 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for JAMES BRADLEY
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                       Case No.: 2:12-cr-080-TLN

11                    Plaintiff,                     STIPULATION AND ORDER
12                                                   VACATING DATE, CONTINUING
                vs.                                  CASE, AND EXCLUDING TIME
13
14   JAMES BRADLEY,                                  DATE: April 7, 2016
                                                     TIME: 9:30 a.m.
15                    Defendants.                    JUDGE: Hon. Troy L. Nunley
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Heiko Coppola, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for
19   Defendant JAMES BRADLEY, that the status conference scheduled for April 7, 2016, at
20   9:30 a.m., be vacated and the matter continued to this Court’s criminal calendar on April
21   14, 2016, at 9:30 a.m. for further status conference and anticipated change of plea.
22   Defense counsel requires additional time to confer with Mr. Bradley regarding final
23   changes to the proposed plea agreement. IT IS FURTHER STIPULATED that time
24   within which the trial of this case must be commenced under the Speedy Trial Act, 18
25   U.S.C. Section 3161 et seq. be excluded from computation of time pursuant to Section
26   3161(h)(7)(A) and (B)(iv), (Local code T-4), and that the ends of justice served in
27   granting the continuance and allowing the defendant further time to prepare outweigh the
28   best interests of the public and the defendant to a speedy trial.




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 1
 2   DATED:           April 5, 2016              /S/   Heiko Coppola______________
                                                 BENJAMIN B. WAGNER
 3
                                                 by HEIKO COPPOLA
 4                                               Attorney for Plaintiff
 5
 6                                               /S/   Clemente M. Jiménez________
                                                 CLEMENTE M. JIMÉNEZ
 7                                               Attorney for James Bradley
 8
 9
10
11                                              ORDER
12
                IT IS SO ORDERED, that the status conference in the above-entitled matter,
13
     scheduled for April 7, 2016, at 9:30 a.m., be vacated and the matter continued to April
14
     14, 2016, at 9:30 a.m., for further status conference and change of plea. The Court finds
15
     that time under the Speedy Trial Act shall be excluded through that date in order to afford
16
     counsel reasonable time to prepare. Based on the parties’ representations, the Court finds
17
     that the ends of justice served by granting a continuance outweigh the best interests of the
18
     public and the defendants to a speedy trial.
19
20   This 5th day of April, 2016.
21
                                                           Troy L. Nunley
22                                                         United States District Judge
23
24
25
26
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     04/05/16
